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                       IN THE UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF MISSISSIPPI

IN RE:           AVERY JAMES JENKINS                                 CASE NO. 22-02336-JAW
                                                                     CHAPTER 13

     OBJECTION TO MOTION TO ALLOW PAYMENT ARREARAGE (Dkt. #62)

        Comes now, Trustmark National Bank hereinafter Respondent and files this their
objection to the Debtor’s Motion to Allow Payment Arrearage (Dkt. #62) and in support of same
would show the following:

          1.     Trustmark National Bank is a secured creditor herein. Debtors’ motion does not
                 account for the status of the extra money not paid to the Trustee which caused the
                 arrearage or why it cannot be used to pay / cure the post petition delinquency.
                 Any and all agreeing of modification as proposed will not afford adequate
                 protection to Trustmark National Bank; and therefore the Motion as filed should
                 be denied.

          Wherefore premises considered Trustmark National Bank requests that the motion be
denied.

          This the 6th day of July, 2023.

                                               Trustmark National Bank

                                               /s James Eldred Renfroe

James Eldred Renfroe, MSB #10096
James L. Powell, MSB # 10083
Renfroe & Perilloux, PLLC
648 Lakeland East Drive Ste A
Flowood, MS 39232
(601) 932-1011
jrenfroe@mslawfirm.biz
Attorney for Trustmark National Bank
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                                      Certificate of Service

       I certify that I have this day mailed a true and correct copy of the foregoing Response to
and served via efiling:

Avery James Jenkins
155 Oak Meadows Dr
Clinton MS 39056

Hon. Thomas Carl Rollins, Jr.
trollins@therollinsfirm.com

Hon. David Culver Rawlings
dcrjax@dcrch13.net

US Trustee
ustpregion05.ja.ecf@usdoj.gov

       Dated: July 6, 2023

                                              /s James Eldred Renfroe
                                             James Eldred Renfroe
